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 6                             UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8                                                 -oOo-
 9
      UNITED STATES OF AMERICA                 )
10                                             )            2:12-CR-023-JCM-CWH
                     PLAINTIFF                 )            2:10-CR-547-RLH-GWF
11                                             )
       vs                                      )            ORDER TO CONSOLIDATE CASE
12                                             )
      MELISSA CUE,                             )
13                                             )
                           DEFENDANT           )
14                                             )
15
                     The Court having reviewed the motion by the United States which is joined in by
16
      counsel for the defendant and good cause appearing:
17
                     IT IS HEREBY ORDERED that case number 2:12-CR-023-JCM-CWH is
18
      consolidated with case number 2:10-CR-547-RLH-GWF for the purpose of all further
19
      proceedings.
20

21
                           DATED this 8 day of March, 2012.
22

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24

25                                                  UNITED STATES DISTRICT JUDGE
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